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cr. No. 05-20252-%1)111‘ ~ 1

VS.

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ERRISS MCCLAIN,
APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
The United States Attomey’s Office applies to the Court for a Writ to have Erriss McClain,
Booking Nurnber: 05305294, R&I Number: 329534, (DOB: 6/27/85, SSN# XXX-XX-XXXX), now
being detained in the Penal Farm, Memphis, TN , appear before the Honorabfe Tu M. Pham on

(day) 8th, (month) August, 2005, at (time) 2:00 pm for ]nitial Appearance and for such other
appearances as this Court may direct.

Respectfully submitted this lst day of August,

 
  

camilié R. M%Muueh ’

Assistant U. S. Attorney
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Upon consideration of the foregoing Application, David Jolley, U. S. Ma;rshal, Western
Distn'ot of Tennessee, Memphis, TN, Ma;rk Luttrell, Sheriff/Warden, Penal Farm, Memphis, TN .
YOU ARE HEREBY COMMANDED to have En‘i ss McClain appear before the

Honorable Tu M. Pham at the date and time aforementioned

T:”:S@…

q UNITED STATES MAGISTRATE JUDGE

ENTERED this lst day of August, 2005.

Thls document entered on the docket eha

with Ftule 55 and/or 32(b) FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

